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UNITED STATES DISTRICT COURT _
Fll.ED BY w ,__ D.C.

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CLERK, U\S l"‘$l}`\“€l CGU’RT

U. s. A. vs. ULYssES McCONNELL pocket rml "` H"“i"i;§tiodiuom-ol

for

WESTERN DISTRICT (}F TENNESSEE

Petition on Probation and Supervised Release

COMES NOW Willie S. Williams. Jr. , PROBATION OFFICER OF THE COURT presenting an
official report upon the conduct and attitude of Ulysses McConnell , who was placed on supervision by the
Honorable Robert M. McRae, Jr. sitting in the Court at Memphis, TN , on the _23“_1_ day of September , 1992,
who fixed the period of supervision at four §4) years* , and imposed the general terms and conditions theretofore
adopted by the Court and also imposed Special Conditions and terms as follows:

 

* Ei`fective date of Supervision: April 8, 2005.

RESPECTFULLY PRESEN'I`ING PETITION FOR ACTl()N OF COURT FOR CAUSE AS FOLLOWS:
(If short insert here; if lengthy write on separate sheet and attach)

Ulysses McConnell has a significant history of substance abuse problems In order to allow the Probation OHice to
monitor for future drug use, a Probation Form 49, (Waiver of Hearing to Modiiy Conditions of Supervised
Release), has been executed by Mr. McConnell.

PRAYING THAT THE COURT WILL ORDER A MODIFICATION of Mr. McConnell’s Supervised Release
conditions to require participation in substance abuse treatment and random drug screening as directed by the U.S.
Probation Oflice.

 

 

 

 

ORDER OF COURT Respectfully,
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Cc_)_r_i§i_dered and ordered this 2-{_ day /%,¢/&;/S? j%"`;__ '~
of 2 trip , 200_»_, and Ordered area @¢Viuie s. Wiiiiane,¢i?. \
and ma a part of the records in the above Senior United States Probation Oiiicer
case.

§ Place: Memphis. Tennessee
Uni@jates District Judge\ Date: July ll, 2005

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with Ru|e 35 arz:\lfor 32(b) FHCrP on '

 

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United States District Co'urt

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Waiver of Hearing to Modify Conditions _
of Probation/Supervised Release or Extend Term of Supervlsion

I have been advised and understand that I am entitled by law to a hearing and assistance of counsel before any
unfavorable change may be made in my Conditions of Probation and Supervised Release or my period of supervision
being extended. By “assistance of counsel,” I understand that `I have the right to be represented at the hearing by
counsel of my own choosing if I am able to retain counsel. I also understand that I have the right to request the court to
appoint counsel to represent me at such a hearing at no cost to myself if I am not able to retain counsel of my own
choosing. `

I hereby voluntarily waive my statutory right to a hearing and to assistance of counsel. I also agree to the following
modification of my Conditions of Probation and Supervised Release or to the proposed extension of my term of
supervision:

You shall participate in a program which may include inpatient
therapy for treatment of drug/alcohol dependency. You shall
also abstain from the use of drugs/alcohol during and after the
course of treatment. `

W'm //§M Signed:
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Date

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 55 in
case 2:9]-CR-20277 vvas distributed by faX, mail, or direct printing on
July 22, 2005 to the parties listed.

 

 

Terrell L. Harris

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

